                     Case 23-30969 Document 1 Filed in TXSB on 03/21/23 Page  1 of 5
                                                                          United States Courts
                                                                                                                            Southern District of Texas
                                                                                                                                    Fl LED
 Fill in this information to ident,fy the case
                                                                                                                               MAR 2 1 2023
 United States Bankruptcy Court for the:


                              District of _ _ _ _ _ __                                                                   Nathan Ochsner, Clerk of Court
                                         (State)
 Case number (If known):   ____________                         Chapter _ _
                                                                                                                                        0    Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                  06122

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Fonns for Non-lndMdua/s, is available.



 1.    De~tor's na!"e                '                Xe W\t'l.l, 1)-€_.,, ('._ e.or~4                  LL('__,,     I   ~p          q'( 0
      })-£.b+vi- 1h        Po.s .cers1ovt                                                                            ,
                                                      ¥,.e V'f\C<Jf) D..{1/ lio pm e£'~ I 1-P

                                               =~4 j~p
 2.    All other names debtor used                                                                                          99/J/o
       in the last 8 yea,.                 ~                                                                                                                  ·
       ~~=':.~~":;:!...                                                                                 g!J.[ 1&£1?1£~¥;,ttWIPi
                                                            EI u {~J._Jj_J__) i~- o'12-blj-g O
 3. Debtor's federal Employer
       Identification Number (EIN)
                                              ,J__    S -_D_~J_~ 3J_O                           (LLl)
                                             .l__ 0 - Q o ~ 0 g 3,-~                             (_ L--~)

 4.    Debtor's address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                             of business

                                                      5f 51? {aA ~',o,e #500
                                               Number          Street                    I                   Number        Street



                                                                                                             P.O. Box

                                                      HoUJTlJJJ TX ?lost
                                               City                              State       ZIP Code        City                            State        ZIP Code


                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business
                                                      t-{lrQ.-e--\ ~
                                               County
                                                                                                             Number        Street




                                                                                                               HOLllTVU
                                                                                                             City
                                                                                                                                             =n
                                                                                                                                             State        ZIP Code




 s. Debtor's website (URL)                     O-Vl'\e.i-"ic~i t -4fw'::




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Debtor                                                                                        Case number (ifk,-,,)1_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              Name



                                          ~orporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 &.   Type of debtor
                                           0   Partnership (excluding LLP)
                                           □ Other.Specify:   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                           A. Check one:
 1.   Describe debtor's business
                                           0   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          i-ef'single Asset Real Estate (as defined in 11 U.S.C. § 101 (518))
                                           0   Railroad (as defined in 11 U.S.C. § 101(44))
                                           □ Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                           □ Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                           □ Clearing Bank (as defined in 11 U.S.C. § 781 (3))
                                           0   None of the above


                                           B. Check all that apply:

                                          da'Tax-exempt entity (as described in 26 U.S.C. § 501) ~cJ.... L f i '-            S:~ ,
                                           □ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                           □ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http ://www.uscourts.gov/four-digit-national-associatjon-naics-codes .



 a.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                       □ Chapter?
                                           □ Chapter9

      A debtor who is a "small business
                                          ~ Chapter 11. Check all that apply.      r .e_ C1 'l 1 ~ I/! I~'/;~ F-, • ~
      debtor" must check the first sub-                     □ The debtor is a small business debtor as defined in 11 U.S.C. § 101(510), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      "small business debtor") must                           11 U.S.C. § 1116(1)(8).
      check the second sub-box.                             □ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(8).

                                                            □ Aplanisbeingfiledwiththispetition. (wc'U. f-4dn'k_~
                                                            □ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            □ The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the
                                                               Securities and Exchange Commission according to§ 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            □ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                           0   Chapter 12




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Debtor                                                                                                Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                Name



 9.    Were prior bankruptcy cases
       filed by or against the debtor
                                                ~
                                                □    Yes.    District _ _ _ _ _ _ _ _ _ _ V'vhen _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
       within the last 8 years?
                                                                                                       MM/ DD /YYYY
       If more than 2 cases, attach a
                                                             District _ _ _ _ _ _ _ _ _ _ V'vhen _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
       separate list.
                                                                                                       MM/ DD/YYYY

 10.   Are any bankruptcy cases
       pending or being filed by a
                                            ~   □    Yes.    Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship
       business partner or an
       affiliate of the debtor?                              District _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ V'vhen
       List all cases. If more than 1,                                                                                                 MM /    DD      /YYYY
       attach a separate list.                               Case number, if known



 11.   Why is the case filed in this            Check all that apply:
       district?
                                                k{   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            {        immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                     district.

                                                □ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have                -~ j;JP'
       possessrtyion of any relal  rty ~es. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       prope      or persona prope
       that needs immediate                 Why does the properly need immediate attention? (Check alt that appy .)
       attention?
                                                            □ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                               What is the hazard? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                            □ It needs to be physically secured or protected from the weather.

                                                            □ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                               attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                               assets or other options).           (}
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                       ~ tJ F            b/)11 IPL "j)P,O                   •         CityJ   ,,II,                                   State ZIP Code           ,

                Fi                                                                     .~tt-(a) ~/4-t7(p/t ~ p---u~
                                                            Is the properly insured?                      TT         ~              C/b/I?£
                                                          □ No
                                                       _,.Zyes. Insurance agency _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                      Contact name

                                                                      Phone




               Statistical and administrative information




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Debtor                                                                                                Case number(ifkt.-r),_________________
              Name




 13. Debtor's estimation of                  Ch;9'< one:
       available funds                      j)a" Funds will be available for distribution to unsecured creditors.
                                              □ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                            □ 1-49              □ 1,000-5,000                                              □ 25,001-50,000
 14. Estimated number of
                                           ~50-99 t;;.h_/Jft,(~ □ 5,001-10,000                                             □ 50,001-100,000
       creditors
                                            □ 100-199           □ 10,001-25,000                                            □ More than 100,000
                                            □ 200-999

                                             □     $0-$50,000                      □ $1,000,001-$10 million                □   $500,000,001-$1 billion
 1&.   Estimated assets
                                             □     $50,001-$100,000              ...el $10,000,001-$50 million             □   $1,000,000,001-$10 billion
                                             □     $100,001-$500,000              □ $50,000,001-$100 million               □   $10,000,000,001-$50 billion
                                             □     $500,001-$1 million            □ $100,000,001-$500 million              □   More than $50 billion


                                             □ $0-$50,000                         □    $1,000,001-$10 million              □   $500,000,001-$1 billion
 16. Estimated liabilities
                                             □ $50,001-$100,000                   □    $10,000,001-$50 million             □   $1,000,000,001-$10 billion
                                           _,.0'
                                               $100,001-$500,000                  □    $50,000,001-$100 million            □   $10,000,000,001-$50 billion
                                             □ $500,001-$1 million                □    $100,000,001-$500 million           □   More than $50 billion




             Request for Relief, Declaration, and Signatures


 WARNING -         Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                   $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 11. Declaration and signature of                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                                   petition.
       debtor
                                                   I have been authorized to file this petition on behalf of the debtor.


                                                   I have examined the information in this petition and have a reasonable belief that the information is true and
                                                   correct.


                                             I dedare under penalty of perjury that the foregoing is true and correct.

                                                   Execut,
                                                                /P, /~/        /~/J/J~


                                                                                                                 C.A13e \ELA           ))~f;?_           ~ i->-tw le(

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                                                         ure of authorized representative of debtor
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Debtor                                                                             Case number   (ii known),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             Name




 1s. Signature of attorney       X                                                            Date
                                     Signature of attorney for debtor                                       MM      /DD /YYYY




                                     Printed name


                                     Firm name

                                     Number          Street


                                     City                                                           State           ZIP Code



                                     Contact phone                                                  Email address




                                     Bar number                                                     State




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